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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Jay Ketover, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 1:21−cv−12987−TLL−PTM
                                                       Hon. Thomas L. Ludington
Kiplinger Washington Editors,
Inc.,

                                   Defendant(s),



                                NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge Thomas L. Ludington at the United
States District Court, United States Post Office Building, 1000 Washington Avenue, Bay City,
Michigan. The following motion(s) are scheduled for hearing:

                Motion for Attorney Fees − #28

      • MOTION HEARING: June 28, 2023 at 03:00 PM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/K Winslow
                                                   Case Manager

Dated: April 14, 2023
